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                           IN THE UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

 HANNAH SANDERSON

             Plaintiff,

 -vs-                                           Case No.:

 VOLUSIA COUNTY
 TOWING, LLC, a Florida
 Limited Liability Company,


        Defendant.
 ____________________________/

                          COMPLAINT & DEMAND FOR JURY TRIAL

        Plaintiff, HANNAH SANDERSON, by and through undersigned counsel, files suit against

the Defendant, VOLUSIA COUNTY TOWING, LLC, a Florida Limited Liability Company,

(“Defendant”), for unpaid overtime compensation and other relief under the Fair Labor Standards

Act, as amended, 29 U.S.C. § 216(b) (the “FLSA”).

                                    JURISDICTION & VENUE

        1.       Defendant, VOLUSIA COUNTY TOWING, LLC, is a Florida limited liability

company that operates and conducts business in Holly Hill, Florida (Volusia County) and is

therefore, within the jurisdiction of this Court.

        2.       This Court has jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C. §1337

and the FLSA. This Court also has jurisdiction under 28 U.S.C. §§ 1331. Venue is proper under

28 U.S.C. § 1391. These claims arise under the laws of the United States.

        3.       The venue of this Court over this controversy is proper based upon the claim arising

in Volusia County, Florida.
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                                             PARTIES

        4.     Plaintiff, HANNAH SANDERSON, was an employee of the Defendant within the

last three (3) years for Defendant in Holly Hill, Florida (Volusia County).

        5.     Defendant, VOLUSIA COUNTY TOWING, LLC, is a private company which

provides towing, winching, recovery, roadside assistance, and other services.

                                  FACTUAL ALLEGATIONS

        6.     Plaintiff was an “executive assistant” and performed related activities for

Defendant in Holly Hill, Florida (Volusia County).

        7.     Plaintiff worked for Defendant from approximately December 1, 2015 to July 22,

2017.

        8.     In this capacity, Plaintiff earned a regular rate of pay of $433.00 per week from

December 1, 2015 until December 19, 2016.

        9.     In this capacity, Plaintiff earned a regular rate of pay of $250.00 per week from

December 19, 2016 until March 2017.

        10.    In this capacity, Plaintiff earned a regular rate of pay of $65.00 per week from

March 2017 until July 22, 2017.

        11.    During Plaintiff’s employment, Plaintiff worked in excess of forty (40) per work

week during one or more work weeks.

        12.    Specifically, Plaintiff would work over 80 hours per week.

        13.    At times, Plaintiff worked over 100 hours per week.

        14.    However, Plaintiff was not paid overtime compensation of one and a half times her

regular rate of pay per hour for overtime hours worked.




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        15.     As a result, Plaintiff should have received compensation at time and one half her

regular rate of pay for all hours worked beyond the forty (40) hours per week.

        16.     Plaintiff was not paid her regular hourly rate of pay (straight pay) for all hours

worked, including for all overtime hours worked.

        17.     As a result, Plaintiff should have received compensation for the federal minimum

wage for any weeks where her hourly rate of pay fell below the federal minimum.

        18.     Upon information and belief, the records, to the extent any exist, concerning the

number of hours worked and amounts paid to Plaintiff are in the possession and custody of

Defendant.

        19.     Upon information and belief, Defendant’s outsourced payroll company advised that

it was not following the federal wage and hour laws.

        20.     Defendant has violated Title 29 U.S.C. §215 in that they have discriminated and

retaliated against Plaintiff for exercising her rights under the FLSA.

        21.     Defendant’s failure and/or refusal to properly compensate Plaintiff at the rates and

amounts required by the FLSA were willful.

                                            COVERAGE

        22.     At all material times relevant to this action (2015-2017), Defendant was an

enterprise covered by the FLSA, and as defined by 29 U.S.C. § 203(r) and 203 (s).

        23.     At all material times relevant to this action (2015-2017), Defendant made gross

earnings of at least $500,000 annually.

        24.     At all material times relevant to this action (2015-2017), Defendant accepted

payments from customers based on credit cards issued by out of state banks.




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       25.     At all material times relevant to this action (2015-2017), Defendant routinely

ordered materials or supplies from out of state.

       26.     At all material times relevant to this action (2015-2017), Defendant had two (2) or

more employees, including Plaintiff, engaged in interstate commerce, handling or otherwise working

on materials that have been moved in or produced for interstate commerce.

       27.     At all material times relevant to this action (2015-2017), Defendant used U.S. mail

to send and receive letters to and from other states.

       28.     At all material times relevant to this action moved vehicles through interstate

highways, which resulted in interstate commerce

       29.     At all times relevant to this action (2015-2017), Defendant failed to comply with

29 U.S.C. §§ 201-209, because Plaintiff performed services for Defendant for which no provisions

were made by Defendant to properly pay Plaintiff for those hours worked in excess of forty (40)

within a work week.

               COUNT I - RECOVERY OF OVERTIME COMPENSATION

       30.     Plaintiff reincorporates and readopts all allegations contained within Paragraphs 1

through 29 above.

       31.     Plaintiff is/was entitled to be paid time and one-half her regular rate of pay for each

hour worked in excess of forty (40) per work week.

       32.     During her employment with Defendant, Plaintiff regularly worked overtime hours

but was not paid time and one half compensation for the same.

       33.     As a result of Defendant’s intentional, willful, and unlawful acts in refusing to pay

Plaintiff, time and one half her regular rate of pay for each hour worked in excess of forty (40) per




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work week in one or more work weeks, Plaintiff has suffered damages plus incurring reasonable

attorneys’ fees and costs.

       34.     As a result of Defendant’s willful violation of the FLSA, Plaintiff is entitled to

liquidated damages.

       35.     Plaintiff demands a trial by jury.

       WHEREFORE, Plaintiff demands judgment against Defendant for the payment of all

overtime hours at one and one-half the regular rate of pay for the hours worked by her for which

Defendant did not properly compensate her, liquidated damages, reasonable attorneys’ fees and

costs incurred in this action, and any and all further relief that this Court determines to be just and

appropriate.

                       COUNT II - RECOVERY OF MINIMUM WAGE

       36.     Plaintiff reincorporates and readopts all allegations contained within Paragraphs 1

through 28 above.

       37.     Plaintiff is/was entitled to be paid time the federal minimum wage for all hours

worked.

       38.     During her employment with Defendant, Plaintiff regularly worked overtime hours

but was not paid time at her regular rate (straight pay) or the federal minimum wage.

       39.     As a result of Defendant’s intentional, willful, and unlawful acts in refusing to pay

Plaintiff her straight pay or the federal minimum wage, Plaintiff has suffered damages plus

incurring reasonable attorneys’ fees and costs.

       40.     As a result of Defendant’s willful violation of the FLSA, Plaintiff is entitled to

liquidated damages.

       41.     Plaintiff demands a trial by jury.




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       WHEREFORE, Plaintiff demands judgment against Defendant for the payment of all

minimum wage for the hours worked by her for which Defendant did not properly compensate her,

liquidated damages, reasonable attorneys’ fees and costs incurred in this action, and any and all

further relief that this Court determines to be just and appropriate.

                                 DEMAND FOR JURY TRIAL

       42.     Plaintiff demands a jury trial on all issues so triable against Defendant.

                                     RELIEF REQUESTED

       Plaintiff respectfully requests:

          i.   That the Court declare that Defendant violated the aforementioned causes of action;

         ii.   A jury trial and entry of judgment in Plaintiff’s favor;

        iii.   Back overtime pay;

         iv.   Liquidated damages;

         v.    Attorney’s fees and expenses;

         vi.   Prejudgment interests, and, if applicable, post-judgment interest; and

        vii.   Any such other and further permanent injunctive, declaratory, legal or equitable

               relief in any combination to which she may be entitled.

       Dated this _11th___ day of January, 2019.

                                               Respectfully submitted by,

                                               _s/ Louis Montone_______________________
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